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Attorney for Defendant Saffron Gustafson



                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION


  UNITED STATES OF AMERICA,                                          Case No. 3:19-cr-00369-SI

                 Plaintiff,
                                                     DEFENDANT’S UNOPPOSED MOTION
          vs.                                        TO EXTEND SURRENDER DATE

  SAFFRON GUSTAFSON,

                 Defendant.

       Defendant Saffron Gustafson respectfully moves this Court for a one-week extension of

her surrender date, which is presently October 15, 2020. See Judgment in a Criminal Case (Dkt.

No. 33). Ms. Gustafson has not yet been notified of a facility designation by the Bureau of

Prisons. The parties have diligently cooperated to seek updates but understand that as of this date

no designation has been made and there is no fixed date by which one will be made. Defense




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counsel respectfully submits that a one-week extension should provide sufficient time for Ms.

Gustafson to make the necessary arrangements (assuming a designation is made relatively soon).

       DATED: October 13, 2020

                                            KEVIN SALI LLC

                             By:            s/ Kevin Sali
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